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                     UNITED STATES DISTRICT COURT
                     NORTHERN DISTRICT OF ILLINOIS
                           EASTERN DIVISION

NATHSON E. FIELDS,                        )
    Plaintiff,                            )
                                          )      No. 10 CV 1168
     v.                                   )
                                          )      Hon. Matthew F. Kennelly
CITY OF CHICAGO et al.,                   )
     Defendants.                          )

                MOTION FOR LEAVE TO FILE UNDER SEAL

       NOW COMES the Plaintiff, Nathson Fields, by and through his attorneys,

and respectfully requests that this Court enter an Order granting Plaintiff leave

to file under seal a motion detailing the reasons why the list of the names of

homicide victims contained in the file cabinet Plaintiff’s attorneys reviewed at

51st and Wentworth (referenced in Plaintiff’s Motion to Make Public the Names

of Victims, Docket 398) should be made public. The motion will discuss several

of the deceased individuals referenced in that file cabinet.

       After reviewing a body of nominally “open” homicide files in a cabinet at

the Chicago Police Department at 51st and Wentworth, attorneys for Plaintiff

concluded, upon information and belief, that some of the investigative files

contained in that cabinet were never tendered to the criminal defendants who

were prosecuted for the homicides in question. The proposed motion explains in

more detail the specifics that led counsel to that conclusion.

       The files in the cabinet are labeled by homicide victim name and date

from 1944 to and including 1987. On July 24, 2013, Plaintiff moved this Court to
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make public the names of those victims, in the interest of justice. This Court

subsequently denied Plaintiff’s motion without prejudice and asked Plaintiff’s

counsel to submit a motion with more detail under seal.

        Should this Court grant Plaintiff’s Motion, Plaintiff is prepared to file a

redacted version for the public record, in accordance with this Court’s rule on the

filing of materials under seal.

        WHEREFORE, for all of the reasons stated above, Plaintiff respectfully

requests that this Court grant Plaintiff’s Motion for Leave to File Motion Under

Seal.



                                                 Respectfully Submitted,

                                             /s/H. Candace Gorman
                                             One of the Attorneys for Fields


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                           CERTIFICATE OF SERVICE

      I, H. Candace Gorman, hereby certify that the foregoing Motion was

served to the parties electronically by means of the Court’s CM/ECF system.




Dated: September 3, 2013

                                              Respectfully Submitted,

                                              /s/H. Candace Gorman
                                              One of the Attorneys for Fields



For Fields:

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